USDC IN/ND case 2:04-cr-00080-JTM-JPK document 976 filed 03/27/19 page 1 of 1


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

                                         APPEARANCE

 UNITED STATES OF AMERICA

                 Plaintiff,

 v.                                             CASE NUMBER: 2:04-CR-80


 CHARLES TANNER

                 Defendant.

 To the Clerk of this Court and all parties of record:

         I, the below-signed, state that I have read the Standards for Professional Conduct
 within the Seventh Federal Judicial Circuit pursuant to N.D. Ind. L.R. 83.5(g) and appendix B-
 65-B-70 of this Court and will faithfully adhere to them. I declare under penalty of perjury that
 the foregoing is true and correct.

       Enter my appearance as counsel in this case for Charles Tanner.

March 27, 2019
Date

                                              Respectfully Submitted,

                                              Northern District of Indiana Federal
                                              Federal Community Defenders, Inc.

                                              By:        s/ Thomas N. O’Malley
                                                         Thomas N. O’Malley
                                                         1300 S. Harrison St., Suite 1101
                                                         Fort Wayne, Indiana 46802
                                                         Phone: 260) 422-9940
                                                         Fax: (260) 422-9954


                                 CERTIFICATE OF SERVICE

        I hereby certify that, on 3/27/2019, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system which sent notifications of such filing to all parties of
record.
                                                       s/ Thomas N. O’Malley
